USCA11 Case: 22-14219     Document: 45     Date Filed: 05/05/2023   Page: 1 of 77


                              No. 22-14219-B

          IN THE UNITED STATES COURT OF APPEALS
                FOR THE ELEVENTH CIRCUIT
                        _________________________

                        UNITED STATES OF AMERICA,

                            Plaintiff-Appellant,

                                    v.

          JOHN HOLLAND, WILLIAM MOORE, EDMUNDO COTA,

                          Defendants-Appellees.
                        _________________________

         ON APPEAL FROM THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                NO. 1:17-CR-0234-AT (TOTENBERG, J.)
                    _________________________

     REDACTED OPENING BRIEF FOR THE UNITED STATES

                        _________________________

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 USCA11 Case: 22-14219      Document: 45      Date Filed: 05/05/2023   Page: 2 of 77
                      United States v. John Holland, et al.
                                 No. 22-14219-B

                CERTIFICATE OF INTERESTED PERSONS
                   AND DISCLOSURE STATEMENT

      In compliance with Fed. R. App. P. 26.1, 11th Cir. R. 26.1-1, and 11th

Cir. R. 26.1-3, the undersigned hereby certifies that the following have an

interest in the outcome of this case:

Adams, Angela

Andrews, Lucas W.

Armstrong, Scott P.

Asbill, Henry W.

Atlanta Medical Center, Inc., a subsidiary of Wellstar Health System

Baverman, Honorable Alan J., United States Magistrate Judge

Bouchard, David Holmes

Bozorgi, Susan Katherine

Centers for Medicare and Medicaid Services

Clinica de la Bebe

Clinica de la Mama

Cota, Edmundo

Deane, Jr., Richard H.

Duffy, Jerrob

Georgia Department of Community Health

                                        C-1 of 4
 USCA11 Case: 22-14219       Document: 45    Date Filed: 05/05/2023   Page: 3 of 77
                        United States v. John Holland, et al.
                                  No. 22-14219-B


Goodman, Honorable Jonathan, United States Magistrate Judge

Grossman, Andrew

Hall, Jamila Marjani

Hilton Head Health System, L.P. d/b/a Hilton Head Hospital

Holland, John

Markman, Ligia

Martinez, Honorable Jose E., United States District Judge

McEvoy, Brian Fenton

Miller, Lisa H.

Molloy, Sally B.

Moore, William

North Fulton Medical Center, Inc. d/b/a North Fulton Hospital, a subsidiary
of Wellstar Health System

Persons, Ellen Harris

Polite, Kenneth A.

Pozos, Antonio M.

Rafferty, Brian T.

Rendon, Carole S.



                                      C-2 of 4
 USCA11 Case: 22-14219    Document: 45    Date Filed: 05/05/2023   Page: 4 of 77
                     United States v. John Holland, et al.
                                 No. 22-14219-B

Romano, John-Alex

Salinas, Honorable Catherine M., United States Magistrate Judge

Sanders, Jeremy R.

Scanlon, John F.

Sharp, Joseph C.

Sombuntham, Nalina

Soto, Ana Maria Cristina Perez

South Carolina Department of Health and Human Services

Strongwater, Emily

Strongwater, Jay Lester

Surmacz, Nicholas E.

Tenet Healthcare Corporation (“THC”)

Tenet Health System Medical, Inc., a subsidiary of Tenet Healthcare
Corporation (“THC”)

Tenet Health System Spalding, Inc. d/b/a Spalding Regional Medical Center,
a subsidiary of Tenet Healthcare Corporation (“THC”)

Torres, Honorable Edwin G., United States Magistrate Judge

Totenberg, Honorable Amy T., United States District Judge

Weil, Amy Levin



                                    C-3 of 4
 USCA11 Case: 22-14219      Document: 45     Date Filed: 05/05/2023   Page: 5 of 77
                      United States v. John Holland, et al.
                                 No. 22-14219-B

White, Honorable Patrick A., United States Magistrate Judge

Zink, Robert A.

      In compliance with Fed. R. App. P. 26.1(b), the Centers for Medicare and

Medicaid Services, the Georgia Department of Community Health, and the

South Carolina Department of Health and Human Services are the

organizational victims in this case.


                                       /s/ John-Alex Romano
                                       ________________________________
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                                       C-4 of 4
 USCA11 Case: 22-14219     Document: 45    Date Filed: 05/05/2023   Page: 6 of 77



               STATEMENT REGARDING ORAL ARGUMENT

      The government requests oral argument and respectfully submits that

oral argument may assist the Court in evaluating the facts and law at issue in

this appeal.




                                       i
 USCA11 Case: 22-14219              Document: 45         Date Filed: 05/05/2023           Page: 7 of 77



                                    TABLE OF CONTENTS

CERTIFICATE OF INTERESTED PERSONS ........................................ C-1

STATEMENT REGARDING ORAL ARGUMENT .................................... i

TABLE OF CONTENTS .............................................................................. ii

TABLE OF AUTHORITIES ........................................................................ v

INTRODUCTION ....................................................................................... 1

STATEMENT OF JURISDICTION............................................................. 1

STATEMENT OF THE ISSUE .................................................................... 2

STATEMENT OF THE CASE ..................................................................... 2

       I.      Procedural History ...................................................................... 2

       II.     Legal and Factual Background .................................................... 3

               A.      Federal Anti-Kickback Statute ........................................... 3

               B.      The Charged Conspiracy ................................................... 6

               C.      Government’s Motion to Admit Co-Conspirator
                       Statements ......................................................................... 8

                       1.      Factual basis for Tracey Cota’s court-approved
                               guilty plea .............................................................. 11

                       2.      Tracey Cota’s interview statements ......................... 13

                       3.      Documentary Evidence .......................................... 18

                               a.       Clinica-Tenet Hospital Contracts ................... 18

                               b.       North Fulton Business Plan Documents ........ 20

                               c.       Internal Reports and Emails .......................... 21



                                                    ii
 USCA11 Case: 22-14219               Document: 45          Date Filed: 05/05/2023           Page: 8 of 77


                                d.       AKS Training ............................................... 26

                D.      Defendants’ Opposition to Admission of Co-
                        Conspirator Statements .................................................... 27

                E.      The District Court’s Order ............................................... 29

        III.    Standard of Review ................................................................... 32

SUMMARY OF ARGUMENT .................................................................. 32

ARGUMENT ............................................................................................. 35

        I.      The District Court’s Exclusion of Co-Conspirator
                Statements Was an Abuse of Discretion. ................................... 35

                A.      The District Court’s Ruling Was Based on Legal
                        Errors. ............................................................................. 35

                        1.      Legal framework for proving an AKS
                                conspiracy .............................................................. 36

                        2.      The court erroneously concluded that the one-
                                purpose rule is in tension with the personal-
                                services safe harbor................................................. 39

                        3.      The court imposed a heightened willfulness
                                requirement. ........................................................... 43

                B.      The District Court’s Ruling Was Based on Clearly
                        Erroneous Factual Findings. ............................................ 46

                        1.      The court clearly erred in finding that Tenet’s
                                payments to Clinica were not conditioned on
                                patient referrals. ..................................................... 46

                        2.      The court clearly erred in finding “scant”
                                evidence of willfulness. ........................................... 54




                                                     iii
 USCA11 Case: 22-14219             Document: 45         Date Filed: 05/05/2023           Page: 9 of 77


                       3.      The court clearly erred in finding that
                               defendants relied in good faith on the advice of
                               counsel................................................................... 57

       II.     Reversal Is Warranted............................................................... 60

CONCLUSION .......................................................................................... 61

CERTIFICATE OF COMPLIANCE .......................................................... 62

CERTIFICATE OF SERVICE ................................................................... 63




                                                   iv
USCA11 Case: 22-14219              Document: 45         Date Filed: 05/05/2023         Page: 10 of 77



                                TABLE OF AUTHORITIES

Cases

Bingham v. HCA, Inc.,
   783 F. App’x 868 (11th Cir. 2019) ......................................................29, 40

Hanlester Network v. Shalala,
  51 F.3d 1390 (9th Cir. 1998) ................................................................... 38

Iannelli v. United States,
   420 U.S. 770 (1975) ................................................................................ 36

Pfizer, Inc. v. U.S. Dep’t of Health and Humans Servs.,
    42 F.4th 67 (2d Cir. 2022), cert. denied, 143 S. Ct. 626 (2023) ...............38, 45

Purcell v. Gilead Scis., Inc.,
   439 F. Supp. 3d 388 (E.D. Pa. 2020) ....................................................... 41

United States ex rel. Armfield v. Gills,
  No. 8:07-cv-2374, 2012 WL 12918277 (M.D. Fla. Oct. 18, 2012) ............. 41

United States ex rel. Raven v. Georgia Cancer Specialists I, P.C.,
  No. 1:11-cv-994, 2019 WL 13040801 (N.D. Ga. Mar. 28, 2019) .............. 41

United States ex rel. Westmoreland v. Amgen, Inc.,
  812 F. Supp. 2d 39 (D. Mass. 2011) ...................................................41, 42

United States v. Almedina,
  686 F.3d 1312 (11th Cir. 2012) ................................................................ 32

*United States v. Bay State Ambulance & Hosp. Rental Serv., Inc.,
  874 F.2d 20 (1st Cir. 1989) ........................................................... 38, 41, 45

United States v. Beale,
  921 F.2d 1412 (11th Cir. 1991) ................................................................ 47

United States v. Borrasi,
  639 F.3d 774 (7th Cir. 2011) ............................................................... 5, 37




                                                    v
USCA11 Case: 22-14219             Document: 45        Date Filed: 05/05/2023        Page: 11 of 77


United States v. Clough,
  978 F.3d 810 (1st Cir. 2020) .................................................................... 53

*United States v. Davis,
  132 F.3d 1092 (5th Cir. 1998) .............................................................. 5, 37

United States v. Dynaelectric Co.,
  859 F.2d 1559 (11th Cir. 1988) ................................................................ 49

*United States v. Greber,
  760 F.2d 68 (3d Cir. 1985) ............................................................. 4, 37, 38

United States v. Hagen,
  _ F.4th _, No. 21-11273, 2023 WL 2182258 (5th Cir. Feb. 21, 2023) ...46, 53

United States v. Hill,
  643 F.3d 807 (11th Cir. 2011) .................................................................. 57

United States v. Hill,
  745 F. App’x 806 (11th Cir. 2018) .................................................. 5, 37, 57

United States v. Holt,
  777 F.3d 1234 (11th Cir. 2015) ................................................................ 36

United States v. Howard,
  28 F.4th 180 (11th Cir.), cert. denied, 143 S. Ct. 165 (2022) ....................... 36

United States v. James,
  590 F.2d 575 (5th Cir. 1979) ..................................................................... 8

United States v. Kats,
  871 F.2d 105 (9th Cir. 1989) ............................................................... 5, 37

United States v. Lawrence,
  47 F.3d 1559 (11th Cir. 1995) .................................................................. 35

United States v. Lebowitz,
  676 F.3d 1000 (11th Cir. 2012) ................................................................ 51

United States v. Mak,
  683 F.3d 1126 (9th Cir. 2012) .................................................................. 54


                                                 vi
USCA11 Case: 22-14219            Document: 45         Date Filed: 05/05/2023       Page: 12 of 77


*United States v. Mallory,
  988 F.3d 730 (4th Cir.), cert. denied, 142 S. Ct. 485 (2021) .................... 4, 37

United States v. Man,
  891 F.3d 1253 (11th Cir. 2018) ................................................................ 36

United States v. Matthews,
  3 F.4th 1286 (11th Cir. 2021) .................................................................. 32

United States v. Matthews,
  431 F.3d 1296 (11th Cir. 2005) ................................................................ 32

United States v. McClatchey,
  217 F.3d 823 (10th Cir. 2000) ......................................................... 5, 37, 53

United States v. Miles,
  290 F.3d 1341 (11th Cir. 2002) ................................................................ 35

United States v. Moshiri,
  858 F.3d 1077 (7th Cir. 2017) .................................................................. 57

United States v. Nagelvoort,
  856 F.3d 1117 (7th Cir. 2017) .................................................................. 53

United States v. Nora,
  988 F.3d 823 (5th Cir. 2021) ................................................................... 56

United States v. Sanjar,
  876 F.3d 725 (5th Cir. 2017) ................................................................... 53

*United States v. Shah,
  981 F.3d 920 (11th Cir. 2020) ......................................................... 5, 30, 39

United States v. St. Junius,
  739 F.3d 193 (5th Cir. 2013) ................................................................... 54

*United States v. Starks,
  157 F.3d 833 (11th Cir. 1998) .............................................................37, 43

United States v. Van Hemelryck,
  945 F.2d 1493 (11th Cir. 1991) .................................................................. 9


                                                vii
 USCA11 Case: 22-14219               Document: 45           Date Filed: 05/05/2023          Page: 13 of 77


*United States v. Vernon,
  723 F.3d 1234 (11th Cir. 2013) .......................................................... passim

United States v. Wilk,
  572 F.3d 1229 (11th Cir. 2009) ................................................................ 32

United States v. Williams,
  865 F.3d 1328 (11th Cir. 2017) ................................................................ 32

Statutes

15 U.S.C. § 78ff ............................................................................................. 2

15 U.S.C. § 78m ............................................................................................ 2

18 U.S.C. § 371 ............................................................................................. 2

18 U.S.C. § 1031 ........................................................................................... 2

18 U.S.C. § 1343 ........................................................................................... 2

18 U.S.C. § 3231 ........................................................................................... 1

18 U.S.C. § 3731 ........................................................................................... 2

42 U.S.C. § 1320a-7b ............................................................................. passim

Pub. L. No. 92-603, 86 Stat. 1329 (1972) ........................................................ 3

Pub. L. No. 95-142, 91 Stat. 1175 (1977) ........................................................ 4

Rules and Regulations

42 C.F.R. § 1001.952 ............................................................................. passim

Fed. R. App. P. 4 .......................................................................................... 1

Fed. R. Evid. 104 ....................................................................................... 49

Fed. R. Evid. 801 ................................................................................. 1, 2, 35



                                                     viii
USCA11 Case: 22-14219              Document: 45         Date Filed: 05/05/2023        Page: 14 of 77



Other Authorities

Black’s Law Dictionary ............................................................................... 43

Clarification of the Initial OIG Safe Harbor Provisions and
   Establishment of Additional Safe Harbor Provisions Under the
   Anti-Kickback Statute, 64 Fed. Reg. 63518 (Nov. 19, 1999) ..................... 40

H.R. Rep. No. 92-231 (1971) ......................................................................... 3

OIG Supplemental Compliance Program Guidance for Hospitals,
  70 Fed. Reg. 4858 (Jan. 31, 2005)............................................................ 45




                                                   ix
USCA11 Case: 22-14219         Document: 45     Date Filed: 05/05/2023   Page: 15 of 77



                                 INTRODUCTION

        John Holland, William Moore, and Edmundo Cota (“defendants”) are

charged with conspiring to pay and receive healthcare kickbacks, and other

crimes, in connection with a 13-year scheme to refer Medicaid patients to

hospitals owned by Tenet Healthcare Corporation for childbirth services. The

district court denied the government’s pretrial motion to admit the statements of

ten alleged co-conspirators under Federal Rule of Evidence 801(d)(2)(E), even

though the conspirators repeatedly referenced the kickback scheme in their

communications and the existence of a conspiracy was corroborated by

independent evidence. The court’s ruling was based on a flawed understanding

of the Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b), and clearly erroneous

factual findings. This Court should reverse.

                        STATEMENT OF JURISDICTION

        The government appeals from a pretrial order excluding evidence in a

criminal case. The district court had jurisdiction under 18 U.S.C. § 3231 and

entered its order on November 15, 2022. DE.596 (under seal); DE.610 (redacted

order).1 The government timely filed a notice of appeal on December 14, 2022.

DE.619; see Fed. R. App. P. 4(b)(1)(B)(i). This Court has jurisdiction under 18




1
    “DE.__” refers to district court docket entries.


                                           1
USCA11 Case: 22-14219      Document: 45     Date Filed: 05/05/2023   Page: 16 of 77


U.S.C. § 3731.

                        STATEMENT OF THE ISSUE

      Whether the district court’s denial of the government’s motion to admit

co-conspirator statements under Federal Rule of Evidence 801(d)(2)(E), on the

ground that the government failed to prove the existence of a conspiracy by a

preponderance of the evidence, was based on legal errors and clearly erroneous

findings of fact.

                        STATEMENT OF THE CASE

I.    PROCEDURAL HISTORY

      On September 26, 2017, a grand jury in the Northern District of Georgia

returned a second superseding indictment charging defendants with conspiring

to defraud the United States and to pay and receive healthcare kickbacks, in

violation of 18 U.S.C. § 371 (Count 1). DE.121:13-25. The indictment also

charged defendants, in various combinations, with paying and receiving

healthcare kickbacks, in violation of 42 U.S.C. § 1320a-7b(b)(1), (b)(2) (Counts

2–4: Holland, Cota); wire fraud, in violation of 18 U.S.C. § 1343 (Counts 5–7:

Holland, Cota) (Counts 8–9: Holland, Moore); falsifying the books and records

of an issuer, in violation of 15 U.S.C. §§ 78m(b)(2)(A), 78m(b)(5), 78ff(a) (Count

10: Holland) (Count 11: Moore); and major fraud against the United States, in

violation of 18 U.S.C. § 1031(a) (Counts 12–13: Holland, Moore). DE.121:26-




                                        2
 USCA11 Case: 22-14219     Document: 45     Date Filed: 05/05/2023   Page: 17 of 77


34. The district court ordered that Count 10 be dismissed for lack of venue.

DE.446:69.

      On November 15, 2022, the court denied the government’s motion in

limine to admit the statements of ten alleged co-conspirators under Rule

801(d)(2)(E). DE.610. This interlocutory appeal followed.

II.   LEGAL AND FACTUAL BACKGROUND

      A.      Federal Anti-Kickback Statute

      Congress enacted the Anti-Kickback Statute (“AKS”), 42 U.S.C. § 1320a-

7b, in 1972 to combat fraud and abuse in the Medicare and Medicaid Programs.

Pub. L. No. 92-603, § 242(b), 86 Stat. 1329, 1419 (1972). The original statute

made it a misdemeanor to solicit, offer, or receive a kickback, bribe, or rebate in

connection with furnishing covered healthcare services or referring a patient to

a provider of those services. Id. § 242(b) and (c), 86 Stat. 1419-1420. Through

this enactment, Congress intended to strengthen tools for combatting practices

that had “long been regarded by professional organizations as unethical, as well

as unlawful in some jurisdictions, and which contribute[d] appreciably to the

cost of the [M]edicare and [M]edicaid programs.” H.R. Rep. No. 92-231 at 1,

107 (1971).

      Congress has amended the AKS several times. In 1977, Congress

upgraded violation of the statute from a misdemeanor to a felony and broadened



                                        3
USCA11 Case: 22-14219       Document: 45     Date Filed: 05/05/2023   Page: 18 of 77


the statute to apply to “any remuneration” (not only kickbacks, bribes, or

rebates) solicited, received, offered or paid in connection with, among other

things, referring patients for goods or services reimbursable by Medicare or

Medicaid. Pub. L. No. 95-142, § 4(a), 91 Stat. 1175, 1181 (1977).

      In its current form, the AKS prohibits knowingly and willfully offering or

paying “any remuneration” to any person “to induce such person” either (A) to

“refer an individual to a person for the furnishing or arranging for the furnishing

of any item or service for which payment may be made in whole or part under

a Federal health care program,” or (B) to “purchase, … order, or arrange for or

recommend purchasing … or ordering” such items or services. 42 U.S.C.

§ 1320a-7b(b)(2). The statute also prohibits knowingly and willfully receiving

any remuneration “in return for” the same conduct. Id. § 1320a-7b(b)(1). These

prohibitions were in effect during the charged conspiracy.

      Several circuits have adopted—and none has rejected—a “one-purpose

rule” for showing unlawful inducement by the payor of kickbacks. Under this

rule, conduct violates § 1320a-7b(b)(2)’s prohibition on offering or paying

remuneration if one purpose of the payments was to induce an enumerated

action, “even if the payments were also intended to compensate for professional

services.” United States v. Greber, 760 F.2d 68, 72 (3d Cir. 1985); accord United

States v. Mallory, 988 F.3d 730, 741 (4th Cir.), cert. denied, 142 S. Ct. 485 (2021);



                                         4
USCA11 Case: 22-14219       Document: 45     Date Filed: 05/05/2023   Page: 19 of 77


United States v. McClatchey, 217 F.3d 823, 835 (10th Cir. 2000); United States v.

Davis, 132 F.3d 1092, 1094 (5th Cir. 1998). Two circuits have also applied the

one-purpose rule to the payee offense under § 1320a-7b(b)(1). See United States v.

Borrasi, 639 F.3d 774, 782 (7th Cir. 2011); United States v. Kats, 871 F.2d 105,

108 (9th Cir. 1989).

      In United States v. Shah, 981 F.3d 920 (11th Cir. 2020), this Court held that

§ 1320a-7b(b)(1) does not require any proof of the defendant-payee’s motivation

for accepting unlawful remuneration. Id. at 925. But based on the different

language of § 1320a-7b(b)(2), the Court agreed with “[its] sister circuits that the

payor crime … prohibits payments that are meant by the payor to induce one of

the enumerated actions.” Id. at 926. And a panel of this Court previously held

in an unpublished decision that the one-purpose rule applies to the payor

offense. See United States v. Hill, 745 F. App’x 806, 815 & n.9 (11th Cir. 2018).

      In certain circumstances, statutory and regulatory safe harbors protect

from liability arrangements that otherwise may violate the AKS. 42 U.S.C.

§ 1320a-7b(b)(3)(A)-(K); 42 C.F.R. § 1001.952. One safe harbor covers

payments made under personal-services contracts. 42 C.F.R. § 1001.952(d)

(2007). The safe harbor applies only if each criterion is satisfied, including that

the contract “covers all of the services the agent provides to the principal for the

term of the agreement,” id. § 1001.952(d)(2), and the “aggregate compensation”



                                         5
USCA11 Case: 22-14219      Document: 45     Date Filed: 05/05/2023   Page: 20 of 77


under the contract “is not determined in a manner that takes into account the

volume or value of any referrals or business otherwise generated between the

parties” for which a covered healthcare payment may be made, id.

§ 1001.952(d)(5).2

      B.    The Charged Conspiracy

      The indictment charges that, between 2000 and 2013, defendants

conspired to pay and receive illegal kickbacks in exchange for the referral of

pregnant patients to hospitals owned by Tenet Healthcare Corporation

(“Tenet”), an issuer of publicly traded securities. DE.121:1, 13-16.

      Tenet owned and operated several hospitals in its Southern States Region.

Four of those hospitals were Atlanta Medical Center, Inc. (“AMC”), North

Fulton Medical Center, Inc. (“North Fulton”), and Tenet Health System

Spalding, Inc. (“Spalding”), in Georgia, and Hilton Head Health System, L.P.

(“Hilton Head”), in South Carolina (collectively, the “Tenet Hospitals”).

DE.121:2. Holland was Chief Executive Officer (“CEO”) of North Fulton

between 2000 and 2006 and Senior Vice President (“SVP”) of Operations for the




2
  Citations to the personal-services safe harbor are to the version effective
December 2007, which was the same version in effect throughout the conspiracy
(2000-2013).


                                        6
USCA11 Case: 22-14219      Document: 45     Date Filed: 05/05/2023   Page: 21 of 77


Southern States Region between 2006 and 2013. DE.121:2-3. Moore was CEO

of AMC from September 2001 through early 2014. DE.121:3.

      Cota was CEO of Hispanic Medical Management, Inc., which did

business as Clinica de la Mama (“Clinica”). DE.121:3. Clinica provided

prenatal care to predominantly undocumented Hispanic women, who were

potentially eligible for healthcare coverage under state Medicaid programs and

a Medicare program. DE.121:3-5. In September 2010, Clinica was divided into

two companies; Cota became CEO of the company that continued doing

business as Clinica de la Mama. DE.121:3.

      As alleged, defendants conspired with each other and other persons to

cause Tenet to pay over $12 million to Clinica to induce Clinica to refer patients

to the Tenet Hospitals and to arrange childbirth services at those hospitals for

those patients. DE.121:16. As a result of the conspiracy, Tenet Hospitals billed

at least $400 million to the Georgia and South Carolina Medicaid programs for

childbirth-related services for Clinica patients and their newborns, receiving at

least $127 million on those claims. DE.121:22.

      Defendants disguised the unlawful kickbacks by having Clinica and Tenet

Hospitals enter into pretextual contracts under which Clinica provided various

services to the hospital, such as translation services, Medicaid eligibility

determination paperwork, and marketing consulting. DE.121:16-17. In many



                                        7
USCA11 Case: 22-14219     Document: 45     Date Filed: 05/05/2023   Page: 22 of 77


instances, the services were not needed, substandard, problematic, or not

rendered. DE.121:17.

      Cota and other co-conspirators allegedly blocked physicians from seeing

patients at Clinica unless the physicians were credentialed at Tenet Hospitals

and agreed to deliver the babies of Clinica patients there. DE.121:20. Some

patients were falsely told that Medicaid would cover their childbirth costs only

if the patient delivered at a Tenet Hospital. DE.121:21.

      Between September 2006 and June 2012, Tenet Hospitals were covered

by a Corporate Integrity Agreement that Tenet entered into with the Office of

Inspector General of the Department of Health and Human Services (“HHS-

OIG”). DE.121:10. The Agreement’s purpose was to ensure that Tenet

complied with, inter alia, the AKS. Among other things, the Agreement required

Tenet to strengthen its policies and procedures for preventing AKS violations

and to require senior executives and other personnel to attend annual training

that covered the AKS. DE.121:10-11.

      C.    Government’s Motion to Admit Co-Conspirator Statements

      Defendants moved for a pretrial hearing pursuant to United States v. James,

590 F.2d 575 (5th Cir. 1979), to determine the admissibility of co-conspirator

statements that the government planned to offer under Rule 801(d)(2)(E).

DE.195; DE.218; DE.223. The government opposed their request because the



                                       8
USCA11 Case: 22-14219       Document: 45     Date Filed: 05/05/2023   Page: 23 of 77


complexity of the case made a James hearing impractical and risked turning it

into a mini-trial, and because a court has discretion to make Rule 801(d)(2)(E)

determinations at trial. DE.277:36-43; see, e.g., United States v. Van Hemelryck, 945

F.2d 1493, 1498 (11th Cir. 1991).3

      The district court directed the government to provide a list of the offered

statements and arguments in support of their admissibility, and directed

defendants to file motions to exclude any statements they wished to challenge.

DE.610:1-2 (citing DE.446:68-69; DE.497:1-2). The court found the parties’

ensuing submissions insufficient and announced that it would “have what

amounts to a James hearing on paper.” DE.497:1-3 & n.2. Because the

government bore the burden of establishing admissibility, the court directed it to

file a motion in limine and to “present its evidence and argument in [a] manner”

consistent with the court’s intent to hold a “paper” hearing. DE.497:9.

      The government moved to admit statements of ten alleged co-

conspirators. DE.507. One co-conspirator, Tracey Cota (“Tracey”), is defendant

Cota’s ex-wife and the former Chief Operating Officer (“COO”) of Clinica;

Tracey pleaded guilty to conspiring to pay and receive healthcare kickbacks.


3
 In 2017, the government identified 55 alleged co-conspirators in response to an
order requiring it to disclose the names of all unindicted co-conspirators.
D.E.136:10. The government reduced to ten the number of co-conspirators
whose statements it seeks to offer at trial.


                                         9
USCA11 Case: 22-14219       Document: 45     Date Filed: 05/05/2023   Page: 24 of 77


DE.610:24. The remaining declarants

          . The ten co-conspirators are:

      x Tracey Cota (Clinica COO, 2000-2010)




DE.507:1, 28, 32-33, 36, 46, 51, 57, 63, 66.

      In total, the government moved to admit 44 written statements by the ten

co-conspirators and oral statements by six of them. DE.507:1, 30-72. It

submitted voluminous appendices containing evidence of the existence of a

conspiracy, membership in the conspiracy, and the statements’ nexus to the

conspiracy. DE.507-App.A; DE.507-App.B. This evidence primarily consisted

of the anticipated testimony of Tracey, consistent with the transcript of her guilty

plea proceeding and reports of law enforcement interviews with her, and

documentary evidence, including the Clinica-Tenet Hospital contracts and




                                        10
USCA11 Case: 22-14219      Document: 45     Date Filed: 05/05/2023   Page: 25 of 77


internal emails.4

            1. Factual basis for Tracey Cota’s court-approved guilty plea

      On August 6, 2014, Tracey pleaded guilty before the district judge

presiding over this case to conspiring to pay and receive kickbacks in exchange

for Medicaid patient referrals. DE.507-App.B:203-37. Tracey is expected to

testify at trial in a manner consistent with the following stipulated facts,

DE.507:11, which provided the factual basis for her plea, DE.507-App.B:213,

223, 236.

      Tracey was the COO of Clinica until September 2010. DE.507-

App.B:214. Clinica’s CEO (i.e., defendant Cota) had primary responsibility for

Clinica’s marketing activities, business development, and negotiations. Id.

Although most Clinica patients were ineligible for traditional Medicaid benefits,

many qualified to have the costs of labor and delivery services at a hospital

covered by Medicaid emergency assistance programs. Id.

      Beginning in 2000, Tracey, hospital executives, and others agreed that

Clinica would be compensated for referring Clinica patients to the Tenet

Hospitals for delivery. DE.507-App.B:216.5 To effectuate this goal, the Tenet


4
  Appendix A contained the written statements offered for admission and a
summary index. Appendix B contained the remaining materials.
5
 The hospitals and Tracey’s co-conspirators were not identified by name at her
public plea hearing, DE.507-App.B:214-16, but the law-enforcement reports


                                       11
USCA11 Case: 22-14219      Document: 45     Date Filed: 05/05/2023   Page: 26 of 77


Hospitals contracted with and paid Clinica to provide services at the hospitals,

but the “true purpose” of these arrangements was to pay Clinica “for Medicaid

patient referrals.” Id. The conspirators caused Clinica and the Tenet Hospitals

to enter into contracts for such services as management of an OB-GYN

residency clinic, translation services, and Medicaid eligibility paperwork.

DE.507-App.B:217.

      Despite the contract provisions, Tracey and her co-conspirators

understood that the payments by the Tenet Hospitals to Clinica “were

conditioned on and in exchange for Clinica referring its patients to the

hospitals.” DE.507-App.B:217-18. The Tenet Hospitals would not have

contracted with and paid Clinica unless Clinica referred patients to them.

DE.507-App.B:218.

      To ensure Clinica patients delivered at Tenet Hospitals, Clinica allowed

only obstetricians with delivery privileges at Tenet Hospitals to see patients at

its clinics. DE.507-App.B:219. Clinica staff was instructed to discourage patients

from choosing to deliver at a different hospital, to emphasize the likelihood of

getting Medicaid to cover their delivery costs at Tenet Hospitals, and to suggest




indicate that she was referring to defendants and co-conspirators
          .


                                       12
USCA11 Case: 22-14219       Document: 45     Date Filed: 05/05/2023   Page: 27 of 77


that Medicaid coverage for delivery at another hospital might be denied.

DE.507-App.B:220.

      The district court found a factual basis for Tracey’s guilty plea and

accepted it. DE.507-App.B:236.6

             2. Tracey Cota’s interview statements

      Tracey is also expected to testify at trial in a manner consistent with her

statements to law enforcement. DE.507:14.

      Executed in March 2000, the first Clinica-Tenet Hospital contract called

for Clinica to operate a clinic as a training site for AMC’s OB/GYN residency

program, mostly in exchange for fees based on collections from that clinic.

DE.507-App.B:431-63. Tracey, however, reported to AMC the volume of

patient referrals from all Clinica clinics, and grew concerned that AMC might

reduce the contractual payments because the number of patients referred from

the residency clinic was low. DE.507-App.B:16-17. When Tracey expressed this

concern to                                                   told her not to worry;

AMC was pleased because overall deliveries from Clinica clinics were higher




6
  AMC and North Fulton also pleaded guilty to an AKS conspiracy in
connection with the alleged facts in this case. See United States v. Atlanta Medical
Center, Inc., et al., No. 1:16-cr-350-AT, DE.19, DE.20 (N.D. Ga. Oct. 21, 2016).
The district court referenced that resolution, and a related civil settlement, at a
2019 hearing related to co-conspirator statements. DE.477:44-45.


                                        13
USCA11 Case: 22-14219      Document: 45     Date Filed: 05/05/2023   Page: 28 of 77


than AMC had expected from the one clinic. DE.507-App.B:17, 47; see also

DE.507-App.B:49 (in 2004,           told Tracey that AMC wanted to transition

from an affiliation agreement with Clinica to a management services contract

and would keep Clinica’s monthly remuneration the same). Cota similarly told

Tracey that AMC was happy and “getting plenty.” DE.507-App.B:17.

      In 2000,                                   introduced Tracey and Cota to

Holland, then-CEO of North Fulton; Holland wanted to expand North Fulton’s

obstetrician program and knew that AMC had success working with Clinica.

DE.507-App.B:18, 971. The group discussed Clinica opening a clinic in

Roswell, Georgia, and sending patients to North Fulton for delivery services.

DE.507-App.B:18, 971-72. Cota told Holland that Clinica could refer 50 patients

per month, which pleased Holland because it would double North Fulton’s

patient load. DE.507-App.B:972. Holland, however, became concerned about

the size of the monthly payment to Clinica, wanted assurances that North

Fulton would see enough Clinica deliveries to justify the expense, and told

Tracey and Cota that he wanted at least 50 per month. DE.507-App.B:21. Under

the contract, executed in October 2001 (DE.507-App.B:513-23), North Fulton

paid Clinica for translation services and Medicaid eligibility determinations; in

fact, North Fulton was buying patient referrals. DE.507-App.B:21.




                                       14
USCA11 Case: 22-14219      Document: 45      Date Filed: 05/05/2023   Page: 29 of 77


      Cota purposefully did not send Clinica patients to North Fulton until

North Fulton had signed the contract. DE.507-App.B:22. At various times,

Tracey and Cota told Holland that Clinica controlled the assignment of patients

to doctors working at their clinics. DE.507-App.B:117. In the first two weeks of

the Roswell clinic’s opening, North Fulton did 35 deliveries; Holland told

Tracey he was excited and to “keep it up.” DE.507-App.B:22.

later told Tracey, in effect, that Clinica had been assigned a patient quota: North

Fulton wanted at least 35 monthly deliveries by Clinica patients. DE.507-

App.B:30-31. North Fulton went from a “sleepy” labor and delivery unit to one

with “people in the hallway/waiting for a room.” DE.507-App.B:170.

      Moore became AMC’s CEO after the original Clinica-AMC contract was

executed. DE.507-App.B:17. In meetings with Tracey, Moore focused on

obtaining patient referrals from Clinica; he always asked about delivery volumes

and wanted many deliveries by Clinica patients. DE.507-App.B:17, 61. Moore,

Cota, and Tracey discussed getting patients to AMC. DE.507-App.B:136. When

Tracey explained that a majority of Clinica patients went to AMC through two

doctors, Moore asked, “How can I get them all?” Id. Moore never asked Tracey

about Clinica’s qualifications to provide translation services or the quality of

their translations, and he did not try to negotiate the rate or hours of Clinica’s




                                        15
USCA11 Case: 22-14219      Document: 45     Date Filed: 05/05/2023   Page: 30 of 77


translators. DE.507-App.B:139, 176. Clinica ordinarily did not do translating

outside its own clinics. DE.507-App.B:139.

       In 2004,

           called a meeting with Moore, Holland, Cota, and Tracey. DE.507-

App.B:27-28.            was interested in expanding Clinica operations to other

Tenet hospitals and wanted an update from Moore and Holland on how Clinica

was affecting admissions at their hospitals. DE.507-App.B:28. Moore and

Holland said they were pleased with the Clinica relationship and reported

delivery numbers for Clinica patients, including breakdowns by clinic of referrals

to AMC and North Fulton. Id.

       Even before this meeting,                               called Tracey to set

a meeting to discuss Clinica opening a new clinic and getting those clinic

patients admitted to Spalding. DE.507-App.B:29. When Cota and Tracey met

with        , Cota said that Clinica would easily bring 30 to 40 patients per

month to Spalding. Id. Cota and Spalding agreed to open a clinic, and at

request, Tracey sent      the Clinica-North Fulton contract. DE.507-App.B:30.

The contract with Spalding was signed quickly. Id.                   Spalding were

more blatant about their desire for patient referrals than other hospitals, which

made Tracey uncomfortable. Id. But Clinica’s arrangement with Spalding lasted

only four months:           told Tracey that Spalding was not seeing enough



                                       16
USCA11 Case: 22-14219     Document: 45     Date Filed: 05/05/2023    Page: 31 of 77


delivery volume from Clinica to justify the payments and ended the

arrangement. Id.

      In late 2005,                    called Tracey and said that Hilton Head

was losing patients to another hospital, that there was a large Hispanic

population in the area, and that     wanted Hilton Head to set up a clinic with

Clinica. DE.507-App.B:31.            wanted the same contractual arrangement

North Fulton had with Clinica and wanted 30 Clinica deliveries per month.

DE.507-App.B:62-63. Tracey and Cota met with                   in South Carolina.

DE.507-App.B:31. When taking Cota and Tracey on a hospital tour,

said that 30 patients per month would make the operation profitable; when Cota

described the program’s potential,              said, “you don’t have to tell me, I

know and I also told other people at Tenet.” DE.507-App.B:160. Hilton Head

executed a contract with Clinica effective October 2006. DE.507-App.B:586-93.

      After Holland became SVP for Tenet’s Southern States Region, Tracey

continued to discuss patient referrals with                                . These

discussions focused on the number of Clinica patient referrals, not Clinica’s

services under the contract. See DE.507-App.B:125-26 (meetings with

      ); DE.507-App.B:126-27, 403-16 (meeting with

      and conversations with               ).




                                      17
USCA11 Case: 22-14219     Document: 45     Date Filed: 05/05/2023   Page: 32 of 77


      Tracey and Cota divorced, which resulted in the September 2010 division

of Clinica between them: each received three Clinica clinics; Cota assumed

Clinica’s contracts with North Fulton and Hilton Head; and Tracey assumed

Clinica’s contract with AMC. DE.507-App.B:33, 174. Cota’s new company did

business as Clinica de la Mama, and Tracey’s new company did business as

Clinica del Bebe. DE.507-App.B:963.

            3. Documentary Evidence

      The documentary evidence included (a) the contracts between Clinica and

Tenet Hospitals; (b) internal North Fulton business documents; (c) internal

reports and emails; and (d) evidence of AKS-related training taken by

                       Moore and Holland.

                  a. Clinica-Tenet Hospital Contracts

      The contracts between Clinica (including its successors) and the Tenet

Hospitals effectively covered the entire conspiracy. DE.507-App.B:431-629; see,

e.g., DE.507-App.B:431-44 (first AMC-Clinica contract effective March 2000);

DE.507-App.B:505-11 (AMC-Clinica del Bebe contract effective May 2011);

DE.507-App.B:513-21 (first North Fulton-Clinica contract dated October 2001);

DE.507-App.B:574-81 (North Fulton-Clinica de la Mama contract effective

March 2011).




                                      18
USCA11 Case: 22-14219       Document: 45     Date Filed: 05/05/2023   Page: 33 of 77


      As CEO of AMC, Moore signed every AMC contract with Clinica and

Clinica del Bebe after the original contract. DE.507-App.B:466, 479, 482, 489,

500, 511. As CEO of North Fulton, Holland signed every North Fulton contract

with Clinica until mid-2006. DE.507-App.B:523, 538, 546, 659-69. Thereafter,

as regional SVP, Holland approved every Tenet Hospital contract with Clinica

and the Tenet Hospitals. See DE.507-App.B:630-46 (AMC contract approvals);

DE.507-App.B:671-701 (North Fulton contract approvals); DE.507-App.B:702-

18 (Hilton Head contract approvals).

      Clinica’s original contracts with AMC and Hilton Head stated that

payments to Clinica were not “conditioned on any requirement” that Clinica

“make referrals to, be in a position to make or influence referrals to, or otherwise

generate business for” the hospital. DE.507-App.B:441, 591; see id. at 465-66

(extension of original Clinica-AMC contract signed by Moore). Similarly, in

requesting corporate approval for North Fulton’s original contract with Clinica,

Holland represented that it was “not conditioned, nor the compensation valued,

on the basis of the Physician’s referrals to [North Fulton].” DE.507-App.B:647-

48. After mid-2006, the contracts with Clinica contained provisions requiring

the parties to comply with Tenet policies related to the AKS and certifying that

they would not violate the AKS. E.g., DE.507-App.B:482, 488, 560, 569-70, 592.




                                        19
USCA11 Case: 22-14219       Document: 45    Date Filed: 05/05/2023   Page: 34 of 77


                    b. North Fulton Business Plan Documents

        The files of North Fulton                          contained a document

titled “North Fulton Regional Hospital Business Plan Proforma Worksheet FY

2002,” dated August 8, 2001 (“Proforma”). DE.507-App.A:44; DE.507-

App.B:277-867; DE.507:73.

        The Proforma projected that, in fiscal year 2002, North Fulton would

receive $2.5 million in Medicaid revenue and $1.263 million in Medicare

revenue from the “Clinica de la Mama” “[i]nitiative.” DE.507-App.B:277.

Elsewhere, the document described a quid pro quo:

        Clinica De La Mama will begin directing admissions [ ] to [North Fulton]
        upon completion of the contract. They have stated that they will shift
        100% of their volume from Northside [Hospital] to [North Fulton] which
        would bring an estimated 1,000-1,200 deliveries in the first year. …
        CDLM’s fees are $578K per year.

DE.507-App.B:280.

        A “Retroactive Analysis” concluded, eight months into the “Clinica

LaMama program,” that Clinica “is very profitable to North Fulton[.]” DE.507-

App.B:292.




7
    The Proforma was included in both appendices to the government’s motion.


                                       20
USCA11 Case: 22-14219     Document: 45     Date Filed: 05/05/2023   Page: 35 of 77


                  c. Internal Reports and Emails

      The minutes of a Clinica shareholder meeting in April 2000, attended by

Cota, Tracey, and                 , reflect the purpose of the original contract

with AMC. DE.507-App.A:1.1. The minutes state that, with one exception,

Clinica wanted to “move all the clinics’ admissions into 1 facility, Atlanta

Medical Center for delivery services,” and that, “if certain physicians are

opposed to this move, []we will interview other physicians who are willing to

admit to Atlanta Medical.” Id. Later in 2000, Tracey reported to AMC on

Clinica’s efforts to refer delivery patients to AMC, promising that AMC would

“begin to see significant numbers in August and should not experience less than

30 deliveries per month after that time.” DE.597-App.A:2.1.

      Internal Tenet communications also revealed the purpose of the Tenet

Hospitals’ arrangements with Clinica. In November 2002, Moore emailed

Holland to ask about North Fulton’s relationship with Clinica, using patient

referrals as the litmus for evaluating the relationship. DE.507-App.B:290 (“How

is [ ] Clinica working out for you? Do you know how many deliveries they’re

averaging?”). In June 2004, Moore emailed           to ask “how much” Spalding

was “paying” Clinica, noting that AMC was “about to switch [their] contractual

format with Clinica to a Services Agreement.” DE.507-App.A:17.1

agreed to send Moore the Spalding-Clinica contract but noted that             was



                                      21
USCA11 Case: 22-14219       Document: 45      Date Filed: 05/05/2023   Page: 36 of 77


terminating the contract. Id. An internal document             subsequently emailed

to others reported that the Clinica “initiative” was “discontinued … due to

inability of partner to establish clinic volume and market assumptions were

found invalid.” DE.507-App.A:18.1-2; see also DE.507-App.A:14.2 (

memo reporting that Spalding’s initiative with Clinica “under performed

expectations in the first three month by 55 admits”). Moore, however, remained

high on Clinica. In August 2006, he emailed

                 about “set[ting] up a meeting with the Clinica folks to discuss

expansion sites to possibly feed          ,” adding, “[t]heir business fuels a lot of

our NICU volume.” DE.507-App.B:302.

      In September 2008, then-SVP Holland emailed Moore

                  , asking, “How have total clinica volumes been doing at your

two hospitals over the past three months – please take a look at overall deliveries,

not %.” DE.507-App.A:41.1. Moore reported:

      We have definitely seen a marked decrease at AMC. . . . June also marked
      the time when Clinica fired [two physicians] so I assumed the volume
      from the clinics they used to staff was being directed to North Fulton. If
      NFMC has not seen an increase then we have a problem.… The drop off has all
      come in the last three months.

Id. (emphasis added).                                            :

      June-August Clinica volumes for 2007 and 2008 were 349 and 340,
      respectively. Based on out flat volume and [AMC’s] decline, this would lead us to
      believe that Clinica is diverting to another program. Our contract is up for re-



                                         22
USCA11 Case: 22-14219      Document: 45     Date Filed: 05/05/2023   Page: 37 of 77


      negotiation within the next 60-90 days.                      are going to
      handle this so we will ask some questions during our discussions with Ed
      [Cota] and Tracey.

Id. (emphasis added). Three days later, Holland emailed Cota and Tracey about

the “dramatic decrease in volume of Clinica deliveries the past three months,”

stating: “either volume is going out of the system or Clinica’s overall volume of

patients has slowed considerably. I am very interested to hear your thoughts and

insights on what is happening.” DE.507-App.B:318.

                               also described the Clinica contracts in terms of

patient referrals and raised concerns about declining Clinica numbers. In

January 2008,                               emailed

       notes about below-budgeted “OB admissions”; the notes explained that

accreditation for AMC’s OB/GYN residency program had been withdrawn and

that the “long-term volume impact” was uncertain, “because most of the volume

is driven by [AMC’s] clinica contract where we choose physicians.”

DE.507.App-A:24.1-2. Three months later, after

emailed         the projected 2008 expense for the Clinica contract ($450,000),

        pledged to “take a hard look at the clinica benefit as compared to cost

… . We are paying more than 240K at Hilton Head for 400 deliveries. Those




                                       23
USCA11 Case: 22-14219      Document: 45      Date Filed: 05/05/2023   Page: 38 of 77


costs wipe out our OB margin, especially when you include med mal costs.”

DE.507-App.A:21.1-2.8

      In November 2009,                                               replied to an

inquiry from         about using another provider for translation services.

response identified patient referrals as the reason for paying Clinica:

      There are many companies who do [translations]…. If we think we can
      get Clinica to send us the business and we can get the translation services
      elsewhere, I’m all for it. I agree with your assessment of the way they hold
      us hostage and don’t like it.

DE.507-App.A:29.1; see also DE.507-App.A:37.1-2 (email

        questioning whether to renew Clinica contract in light of projected cuts

in Medicaid reimbursements).

      In November 2010, when                 pushed North Fulton to negotiate a

better rate with Clinica given “reductions in Clinica volumes,”           explained

that they “ha[d] no idea who to work with” because Clinica’s principals were

going through a “nasty divorce”;          noted that they had contacted “Moore

about using both hospitals to negotiate a better rate.” DE.507-App.A:23.2.

continued: “[W]e need more time. … The best solution of all is to get our other



8
 Another individual who pleaded guilty, Gary Lang, worked at Hilton Head
and was involved in discussions with             and Holland that focused on
hitting Clinica’s delivery numbers; the level of translation services by Clinica
was not discussed. DE.507-App.B:83.


                                        24
USCA11 Case: 22-14219      Document: 45      Date Filed: 05/05/2023   Page: 39 of 77


OBs … to replace this volume.” Id.           replied: “[T]his is a very rich contract

at $33K/month. Betting on the come with volumes has not proved

successful….” Id.

      Despite these concerns, Tenet Hospitals ended up paying Clinica’s

successor companies to protect their patient volumes. DE.507-App.B:505-12,

574-83 (contracts with Clinica successors); see, e.g., DE.507-App.B:333 (May

2011 email from Moore                : “See significant number of babies coming

from Ed Cota’s clinic (d la Mama). We need to move on that agreement or risk

him pressuring the doctor to deliver at another hospital.”); DE.507-App.A:28.3

(AMC volume analysis emailed                  to              Moore in November

2011: “Clinica volume continues to decline due to immigration law

enforcement. To mitigate loss within OB, a contract with clinica de la mama is

in process, already have a contract with clinica del bebe.”).

      Finally, emails reflect that Clinica’s remuneration by the Tenet Hospitals

was not based on the value of the services set forth in the contracts. For example,

in a November 2005 email,                                 sent Tracey an approved

contract (“back from our legal department”) and stated, “[w]e had to mess

around with some of the numbers relative to each performance item, but the

total did not change much (actually went up a little).” DE.507-App.A:43.1. In

an earlier communication,            indicated that      and Moore were offering



                                        25
USCA11 Case: 22-14219     Document: 45     Date Filed: 05/05/2023   Page: 40 of 77


Clinica “another $5,000 per month” so that Clinica would “remain whole” as

compared to remuneration under the previous AMC-Clinica contract. DE.507-

App.A:42.1; see also DE.507-App.A:11.1 (email from Tracey to North Fulton

          proposing changes to fee items in the contract and “delet[ing] the

marketing piece all together”). And, in November 2008,              advised

that North Fulton should “wait on” competency testing of Clinica interpreters

because the testing was not covered by their contract and Tracey was not

agreeable to it—after                                           had predicted to

      that “Clinica interpreters will have difficulties passing our assessments.”

DE.507-App.A:36.1.

                  d. AKS Training

      Between 2006 and 2011, Holland, Moore,

            received annual compliance training pursuant to Tenet’s Corporate

Integrity Agreement with HHS-OIG. See DE.507-App.B:896-910 (Holland),

940-48 (Moore),



      The sessions included training on the AKS. The initial training on

arrangements, which both Holland and Moore completed, explained that a

permissible arrangement between a “Referral Source[]” and “Hospital[]” must

“not take into account volume or value of referrals or other business.” DE.507-



                                      26
USCA11 Case: 22-14219     Document: 45       Date Filed: 05/05/2023   Page: 41 of 77


App.B:881. Another training slide referenced the “One purpose test” in

explaining that the AKS punishes “[k]nowing and willful” violations of its

provisions. DE.507-App.B:887 (“Anti-Kickback Basics”). Another slide

explained that certain exceptions and safe harbors to the AKS provide

“[i]mmunity from prosecution,” but cautioned that the “[a]rrangement must

meet all criteria.” DE.507-App.B:888.

      D.    Defendants’ Opposition to Admission of Co-Conspirator
            Statements

      Defendants contended that the government did not satisfy any

requirement under Rule 801(d)(2)(E), disputing that a conspiracy existed, that

defendants and the declarants were members of the conspiracy, and that the

noticed statements furthered the conspiracy. DE.521; DE.522; DE.526.

      Among other things, defendants maintained that there were legitimate

business reasons, related to the fair market value and commercial necessity of

Clinica’s services, for Tenet executives to discuss patient volumes. DE.521:15-

16; DE.522:3-5; DE.526:20. Defendants also alleged that Clinica had provided

needed and valuable services to the Tenet Hospitals under the contracts, e.g.,

DE.522.37-39; DE.526:21-25, and that the co-conspirators had operated with

the good-faith belief that counsel for Tenet and Clinica had approved the

contracts, e.g., DE.521:16-17; DE.522:17-25.




                                        27
USCA11 Case: 22-14219     Document: 45     Date Filed: 05/05/2023   Page: 42 of 77


      Defendants challenged the relevance, completeness, and reliability of the

government’s submitted evidence. E.g., DE.521:2-5, 24-25; DE.526:18.

Defendants accused the government of hiding evidence from the court.

DE.521:1-5; DE.522:1-2; see also DE.477:21-23 (accusing government of

arbitrarily designating individuals as co-conspirators to inhibit them from

testifying as defense witnesses). Defendants relied on

                                                                     , which, in

defendants’ view, showed that the individuals “did not believe there was

anything improper—certainly nothing criminal—about the Clinica contracts.”

DE.522:34;




      The government replied to these arguments. DE.529. As to advice of

counsel, the government submitted

                                             and a memorandum documenting

statements to law enforcement by

which evidenced their lack of knowledge that Tenet Hospitals paid Clinica for

patient referrals. DE.529-App.B.




                                      28
USCA11 Case: 22-14219         Document: 45     Date Filed: 05/05/2023   Page: 43 of 77



      E.    The District Court’s Order

      The district court denied the government’s motion to admit co-conspirator

statements. DE.610. The court found that the evidence failed to establish

willfulness and, therefore, the existence of a conspiracy to violate the AKS. On

that basis, the court ruled that all of the statements were inadmissible under Rule

801(d)(2)(E). Id. at 38-39.

      The court concluded, first, that the interplay between the one-purpose rule

and the personal-services safe harbor, 42 C.F.R. § 1001.952(d), “is unsettled and

unclear in this circuit such that, even if the Government can establish that one

purpose of the Tenet-Clinica contracts was to induce referrals, that fact does not

establish willfulness under the AKS.” DE.610:19. In reaching that conclusion,

the court rejected a defense argument that the safe harbor displaces the one-

purpose rule whenever the safe harbor’s requirements are satisfied. Id. at 10-13.

But the court determined that the “the one-purpose rule was at odds with a plain

reading of the safe harbor.” Id. at 15.

      The court found that two decisions by this Court contribute to confusion

in the law. DE.610:15-17. The court read Bingham v. HCA, Inc., 783 F. App’x

868 (11th Cir. 2019), to mean that “in order to demonstrate that Tenet paid

remuneration to establish an AKS violation, the Government must establish that

Tenet paid in excess of fair market value for the services provided by Clinica.”



                                          29
USCA11 Case: 22-14219      Document: 45     Date Filed: 05/05/2023   Page: 44 of 77


Id. at 16. And it found that Shah, 981 F.3d at 925, “confuse[s] matters yet even

more,” relying on a law firm’s commentary about Shah’s purportedly uncertain

impact on the interplay of the one-purpose rule and the safe harbor. DE.610:17-

20. Given the alleged uncertainty in the law, the court required the government

to show that the relevant individuals “kn[ew] they were breaking the law beyond

knowing that one purpose of the deal was to induce referrals.” Id. at 21.

      The court found “scant evidence of Defendants’ willfulness.” DE.610:28.

It rejected the evidence of AKS training, finding that the evidence “does not

establish what was said about the one-purpose rule” and, in any event, that “the

one-purpose rule is not clear.” Id. at 29-30. And it rejected the argument that

defendants’ discussion of Clinica referrals and patient volumes defeated the safe

harbor’s application or showed that referring patients was the true purpose of

the contracts. Id. at 30-31. The court “agree[d]” with defendants that

“discussions of patient volume do not demonstrate a willful violation of the

AKS,” citing a hospital administrator’s need “to know how many patients are

likely to show up at a hospital on a given day (or over a given period) for

numerous reasons that have nothing to do with violating the AKS.” Id. at 30.

      The court found “ample evidence showing that Clinica provided valuable

services under the contracts and no evidence that the contracts were a sham.”

DE.610:33. A hospital selecting a service provider, the court continued, “is not



                                       30
USCA11 Case: 22-14219         Document: 45     Date Filed: 05/05/2023   Page: 45 of 77


prohibited from choosing to enter into a contract with an entity that also has the

capacity to refer patients over one that does not.” Id. at 34 (quotation omitted).

         The court credited “apparent facts” that “attorneys for both Tenet and

Clinica vetted the contracts to ensure that they would not violate the law,” and

found that “when the contracts were executed, Defendants had a reasonable

basis to believe that the contractual arrangements … were legal.” DE.610:37.

The court rejected the government’s reliance on

                      who had expressed concern when shown some of the co-

conspirator communications. Id. at 37-38. Absent “evidence that the terms of

the contracts were not executed faithfully, that Clinica was paid for services that

were not rendered, or that some other form of nefarious conduct (other than

discussions of volume) occurred,” the court declined to “find that any of the

involved individuals had reason to believe that they were violating the law.” Id.

at 38.

         In so ruling, the court did not make a credibility finding against Tracey or

find the evidence of discussions about patient referrals and volume to be untrue.

The court acknowledged that “it would be naive to believe that Defendants were

not, at least, thinking about referrals when they negotiated and entered the

service contracts,” and that “the statements of some alleged co-conspirators [ ]

indicate a more focused attention on referrals than on the quality of the services



                                          31
USCA11 Case: 22-14219      Document: 45       Date Filed: 05/05/2023   Page: 46 of 77


provided by Clinica.” DE.610:34-35. But the court found that the government

failed to show that defendants “did anything more than create an attractive

arrangement for referrals.” Id. at 35.

III. STANDARD OF REVIEW

      The Court reviews a ruling on the admissibility of co-conspirator

statements for an abuse of discretion. United States v. Matthews, 431 F.3d 1296,

1308 (11th Cir. 2005). “An abuse of discretion occurs if the district court applies

an incorrect legal standard or makes findings of fact that are clearly erroneous.”

United States v. Wilk, 572 F.3d 1229, 1234 (11th Cir. 2009); see United States v.

Williams, 865 F.3d 1328, 1337 (11th Cir. 2017) (“Basing an evidentiary ruling

on a legal error constitutes an abuse of discretion per se.”). A finding is clearly

erroneous if the Court is “left with a definite and firm conviction that a mistake

has been committed.” United States v. Almedina, 686 F.3d 1312, 1315 (11th Cir.

2012) (quotation omitted). A district court may make inferences from the

evidence, but those inferences must be “reasonable.” United States v. Matthews, 3

F.4th 1286, 1289 (11th Cir. 2021).

                        SUMMARY OF ARGUMENT

      The district court’s exclusion of co-conspirator statements under Rule

801(d)(2)(E) was based on legal errors and clearly erroneous findings of fact. The

ruling was an abuse of discretion and must be reversed.



                                         32
USCA11 Case: 22-14219       Document: 45     Date Filed: 05/05/2023   Page: 47 of 77


      A.      The court erred in concluding that the one-purpose rule conflicts

with the personal-services safe harbor. There is no tension or uncertainty: the

one-purpose rule addresses the inducement element of a payor offense under the

AKS, 42 U.S.C. § 1320a-7b(b)(2), while the regulatory safe harbors identify

certain types of payments as not included in the statutory definition of

“remuneration,” 42 C.F.R. § 1001.952. If a defendant establishes a payment

practice meets every element of a safe harbor, there is no resulting AKS

violation, not because the payment cannot have been intended to induce

referrals, but rather because there was no “remuneration.”

      The district court’s misunderstanding caused it to impose a heightened,

and erroneous, standard of willfulness: it discounted the probative value of

patient-referral evidence in its analysis, contrary to this Court’s precedents, and

it required proof of nefarious conduct, contrary to the unambiguous prohibitions

of the AKS.

      B.      The court’s factual findings also compel reversal.

      First, the court clearly erred in finding insufficient evidence of an

arrangement for Tenet Hospitals to pay Clinica for patient referrals. The court

essentially ignored Tracey’s repeated statements, at her guilty plea and during

law-enforcement interviews, that she participated in a scheme in which Tenet

Hospitals paid Clinica for patient referrals and used service contracts to cover



                                        33
USCA11 Case: 22-14219        Document: 45    Date Filed: 05/05/2023   Page: 48 of 77


up their arrangement. And the court misconstrued the conspirators’ discussions

of Clinica patient volumes, in which                            candidly discussed

paying Clinica for patient referrals, as some benign analysis of whether Clinica’s

contractual services were priced at fair market value. No reasonable reading of

the submitted communications supports that interpretation—

             were treating Clinica as a source of revenue generation.

      Second, in finding “scant” evidence of willfulness, the court clearly erred

by discounting evidence that                                      received training

on the AKS, including on the one-purpose rule. And the court overlooked the

contract provisions that (i) required compliance with the AKS and (ii) falsely

certified that the contracts were not conditioned on any requirement that Clinica

make referrals or otherwise generate business for the Tenet Hospitals.

      Third, the court clearly erred in finding that defendants relied in good faith

on counsel’s alleged vetting of the Clinica-Tenet Hospital contracts. The court

did not make a finding that the threshold condition for raising an advice-of-

counsel defense was satisfied: full disclosure of all material facts related to the

contracts. And the court erroneously rejected the evidence showing a lack of full

disclosure, which included                                                             .

      These errors cannot stand.




                                        34
 USCA11 Case: 22-14219     Document: 45      Date Filed: 05/05/2023   Page: 49 of 77



                                 ARGUMENT

I.    THE DISTRICT COURT’S EXCLUSION OF CO-CONSPIRATOR STATEMENTS
      WAS AN ABUSE OF DISCRETION.

      The admission of co-conspirator statements under Rule 801(d)(2)(E)

requires the government to “prove by a preponderance of the evidence: (1) that

a conspiracy existed; (2) that the conspiracy included the declarant and the

defendant against whom the statement is offered; and (3) that the statement was

made during the course and in furtherance of the conspiracy.” United States v.

Miles, 290 F.3d 1341, 1351 (11th Cir. 2002); see United States v. Lawrence, 47 F.3d

1559, 1566 (11th Cir. 1995) (preponderance standard requires “reliable and

specific evidence”). In determining admissibility, a court considers not only the

content of the offered co-conspirator statement, but also surrounding

circumstances, context, and any corroborating evidence. See Fed. R. Evid. 801,

adv. comm. notes (1997 amend.).

      Because the district court’s ruling that the evidence fails to prove a

conspiracy was based on a flawed understanding of the AKS and clearly

erroneous factual findings, this Court should reverse.

      A.    The District Court’s Ruling Was Based on Legal Errors.

      The court erroneously concluded that the one-purpose rule is in tension

with the personal-services safe harbor. That error caused it to impose a

heightened willfulness requirement that is contrary to law.


                                        35
USCA11 Case: 22-14219       Document: 45     Date Filed: 05/05/2023   Page: 50 of 77


             1. Legal framework for proving an AKS conspiracy

      The “essence” of a conspiracy “is an agreement to commit an unlawful

act.” Iannelli v. United States, 420 U.S. 770, 777 (1975). The existence of such an

agreement may be proven through circumstantial evidence and reasonable

inferences drawn therefrom. United States v. Man, 891 F.3d 1253, 1265, 1272

(11th Cir. 2018). The government “need only prove an agreement or common

purpose to violate the law and intentional joining in this goal by coconspirators.”

United States v. Holt, 777 F.3d 1234, 1263 (11th Cir. 2015) (quotation omitted).

An individual’s membership in a conspiracy can be proven “even if he did not

play a major role in the scheme, did not directly interact with the other co-

conspirators, did not participate in every stage of the conspiracy, and did not

know all of the details.” United States v. Howard, 28 F.4th 180, 189 (11th Cir.),

cert. denied, 143 S. Ct. 165 (2022).

      The elements of paying an unlawful healthcare kickback are that the

defendant (1) knowingly and willfully, (2) offered or paid “remuneration” to

another person, (3) to “induce” that person to refer another individual for the

furnishing of any item or service, (4) for which payment may be made in whole

or part under a federal healthcare program. 42 U.S.C. § 1320a-7b(b)(2); see

United States v. Vernon, 723 F.3d 1234, 1252 (11th Cir. 2013). The elements of

the payee crime similarly prohibit knowingly and willfully accepting



                                        36
USCA11 Case: 22-14219       Document: 45       Date Filed: 05/05/2023   Page: 51 of 77


remuneration in return for referring an individual for a covered healthcare item

or service. 42 U.S.C. § 1320a-7b(b)(1).

      Under the AKS, “willfully … means the act was committed voluntarily

and purposely, with the specific intent to do something the law forbids, that is

with a bad purpose, either to disobey or disregard the law.” United States v. Starks,

157 F.3d 833, 837-38 (11th Cir. 1998) (quotation omitted). Willfulness does not

require showing that a defendant knew his conduct specifically violated the

AKS. Id. at 838. Nor, given the statute’s application to “overt[] or covert[]”

conduct, 42 U.S.C. § 1320a-7b(b), does willfulness require evidence of “furtive

activity.” Vernon, 723 F.3d at 1259.

      As discussed, the circuits to have considered the question, including this

Court in an unpublished decision, have unanimously held that conduct satisfies

the inducement element of the payor offense, § 1320a-7b(b)(2), where one

purpose of the payment was to induce an enumerated action, such as patient

referrals. See Mallory, 988 F.3d at 741; McClatchey, 217 F.3d at 835; Davis, 132

F.3d at 1094; Greber, 760 F.2d at 72; Hill, 745 F. App’x at 815 & n.9; see also

Borrasi, 639 F.3d at 782 (applying one-purpose rule to payee provision); Kats,

871 F.2d at 108 (same). That interpretation is based on the plain language of the

AKS, which reflects Congress’s intent to target “not only sums for which no

actual service was performed but also those amounts for which some



                                          37
USCA11 Case: 22-14219        Document: 45      Date Filed: 05/05/2023   Page: 52 of 77


professional time was expended.” Greber, 760 F.2d at 71. “That a particular

payment was a remuneration (which implies that a service was rendered) rather

than a kickback, does not foreclose the possibility that a violation nevertheless

could exist.” Id.; see United States v. Bay State Ambulance & Hosp. Rental Serv., Inc.,

874 F.2d 20, 29-30 (1st Cir. 1989) (“The gravamen of Medicare Fraud is

inducement. Giving a person an opportunity to earn money may well be an

inducement to that person to channel potential Medicare payments towards a

particular recipient.”).

      The one-purpose rule comports with the purpose and history of the AKS.

“Even if the physician performs some service for the money received, the

potential for unnecessary drain on the Medicare system remains.” Greber, 760

F.2d at 71. By adding the term “any remuneration” to the statute, which before

1977 referred only to kickbacks, bribes, or rebates, see pp. 3-4, supra, “Congress

sought to make it clear that even if the transaction was not considered to be a

‘kickback’ for which no service had been rendered, payment nevertheless

violated the Act.” Greber, 760 F.2d at 72; see Pfizer, Inc. v. U.S. Dep’t of Health and

Humans Servs., 42 F.4th 67, 75 & n.7 (2d Cir. 2022) (1977 amendment broadened

the statute), cert. denied, 143 S. Ct. 626 (2023); Hanlester Network v. Shalala, 51

F.3d 1390, 1398 (9th Cir. 1998) (same).




                                          38
USCA11 Case: 22-14219      Document: 45     Date Filed: 05/05/2023   Page: 53 of 77


      No court of appeals has rejected the one-purpose rule’s application to the

payor crime. This Court’s holding in Shah that the payee crime does not require

proof of the defendant-payee’s motivation for accepting payment turned on the

absence of the “to induce” language in § 1320a-7b(b)(1), which applies to

soliciting or receiving kickbacks “in return for” an enumerated act. 981 F.3d at

925. But the Court agreed with “[its] sister circuits that the payor crime …

prohibits payments that are meant by the payor to induce one of the enumerated

actions.” Id. at 926.

      Given the language, history, and purpose of the AKS, the inducement

element of the payor offense is satisfied as long as one purpose of the payment

was to induce the referral of patients for covered healthcare services.

             2. The court erroneously concluded that the one-purpose rule is in
                tension with the personal-services safe harbor.

      Contrary to the district court’s conclusion, the one-purpose rule is not “at

odds” with a “plain reading” of the AKS safe harbors, and the interplay between

the two is neither “unsettled” nor “unclear.” DE.610:15.

      The one-purpose rule is a method for the government to prove

inducement, whereas the regulatory safe harbors are affirmative defenses that, if

fully proven by a defendant, exempt certain arrangements from liability by

excluding payments made thereunder from the definition of “remuneration.” 42

C.F.R. § 1001.952; see 42 U.S.C. § 1320a-7b(b)(3)(E) (statutory authority for


                                       39
USCA11 Case: 22-14219       Document: 45     Date Filed: 05/05/2023   Page: 54 of 77


HHS to promulgate regulations exempting “payment practice[s]” from AKS

liability); Vernon, 723 F.3d at 1270-71 (finding that the jury “reasonably rejected”

the defendant’s “affirmative defense” on AKS safe harbor). Thus, a payment

made under an arrangement satisfying every requirement of a regulatory safe

harbor does not violate the AKS, not because the payment cannot have been

intended to induce referrals, but rather because the payment does not qualify as

remuneration.9 The one-purpose rule and the safe harbors are not in conflict.

And as discussed below, the Clinica-Tenet Hospital arrangements did not

qualify for safe-harbor protection because they took into account the volume of

patient referrals. See 42 C.F.R. § 1001.952(d)(5).

      The cases discussed by the district court do not render the law uncertain.

DE.610:14-17. In Bingham, an unpublished decision decided well after the

charged conspiracy, this Court affirmed the grant of summary judgment against

a relator in a False Claims Act case, holding that, because the doctors paid fair

market value to rent office space from a hospital’s subsidiary, they did not

receive “remuneration.” 783 F. App’x at 873. Bingham says nothing about the


9
 Of course, a “sham” contract, “which on paper looks like it complies with [the
safe-harbor] provisions, but where there is no intent to have the space or
equipment used or the services provided,” does not receive safe-harbor
protection. Clarification of the Initial OIG Safe Harbor Provisions and
Establishment of Additional Safe Harbor Provisions Under the Anti-Kickback
Statute, 64 Fed. Reg. 63518, 63530 (Nov. 19, 1999).


                                        40
USCA11 Case: 22-14219       Document: 45      Date Filed: 05/05/2023   Page: 55 of 77


inducement element, and as the district court acknowledged, Bingham does not

mention the one-purpose rule. DE.610:16.10

      Similarly, the district court misread four lower court cases that, it believed,

applied the one-purpose rule even though the arrangement “arguably fell within

a safe harbor.” DE.610:14. In three cases, sufficient evidence was presented, or

sufficient facts pleaded, indicating that the safe harbor in question was not

satisfied. See Purcell v. Gilead Scis., Inc., 439 F. Supp. 3d 388, 398-99 (E.D. Pa.

2020); United States ex rel. Raven v. Georgia Cancer Specialists I, P.C., No. 1:11-cv-

994, 2019 WL 13040801, *17-*18 (N.D. Ga. Mar. 28, 2019); United States ex rel.

Armfield v. Gills, No. 8:07-cv-2374, 2012 WL 12918277, *4-*5 (M.D. Fla. Oct.

18, 2012). The fourth case states that “[i]f the requisite intent to willfully or

knowingly solicit or offer a kickback is present, formal compliance with a safe

harbor is not sufficient to avoid liability under the [AKS].” United States ex rel.

Westmoreland v. Amgen, Inc., 812 F. Supp. 2d 39, 48 (D. Mass. 2011). But in

context, and as evident from the regulatory guidance it cited, that passage was



10
  Holland argued below that Bingham requires “affirmative proof of a payment
in excess of fair market value … in order to establish that the payment is illegal
remuneration under the AKS.” DE.522:5. Any such rule would be inconsistent
with the plain language of the AKS, and with the requirements of the personal-
services safe harbor, which are not limited to fair-market-value compensation.
See Bay State, 874 F.2d at 31 (“Congress did not explicitly change the statute to
exclude reasonable payments for actual work done.”).


                                         41
USCA11 Case: 22-14219       Document: 45     Date Filed: 05/05/2023   Page: 56 of 77


simply noting that a business arrangement must be evaluated in substance, not

just form, when determining safe-harbor eligibility. Id.; see n.9, supra.

      Nor does this Court’s decision in Shah “confuse matters.” DE.610:17. The

district court cited Shah—and a law firm’s musings on Shah—as proof of

confusion in the law, even though it recognized that Shah did not directly

address the one-purpose rule, and even though Shah was decided seven years

after the charged conspiracy. DE.610:17-20. The district court’s analysis also

omits any recognition that, unlike Shah, this case is substantially a payor case:

Holland, Moore,                                               were agents of Tenet

or Tenet Hospitals, and a central object of the conspiracy was for Tenet

Hospitals to pay Clinica to induce patient referrals. DE.121:14-16.

      During the conspiracy, the AKS unequivocally prohibited knowingly and

willfully paying any remuneration, to any person, to induce referrals to federal

healthcare programs. And the personal-services safe harbor was clear that it

offered protection only if every requirement was satisfied, including that

compensation not account for referral volumes. The district court erred in

concluding that the one-purpose rule, including its interplay with the safe

harbor, was unclear.




                                        42
USCA11 Case: 22-14219       Document: 45      Date Filed: 05/05/2023   Page: 57 of 77


             3. The court imposed a heightened willfulness requirement.

      The court’s confusion about the one-purpose rule caused it to impose a

heightened standard of willfulness that discounted the probative value of patient-

referral evidence and required proof of nefarious conduct.

      First, the court ruled that “even if the Government can establish that one

purpose of the Tenet-Clinica contracts was to induce referrals, that fact does not

serve to establish willfulness under the AKS.” DE.610:19. In setting aside such

evidence, see id. at 21, the court unduly minimized the probative value of patient-

referral evidence in its analysis of willfulness, contrary to circuit precedent.

      In Starks, this Court rejected a requirement that the defendant knew his

conduct specifically violated the AKS, explaining that § 1320a-7b(b) does not

“pose[] a danger of ensnaring persons engaged in apparently innocent conduct”

because “the giving or taking of kickbacks for medical referrals is hardly the sort

of activity a person might expect to be legal.” 157 F.3d at 838. The Court

compared “such kickbacks” to “malum in se, rather than malum prohibitum,” and

concluded that, “[r]egardless of their knowledge of the law, [the defendants]

should reasonably have anticipated that their kickback scheme for referrals was

‘immoral in its nature and injurious in its consequences.’” Id. at 838 & n.7

(quoting Black’s Law Dictionary). And in Vernon, this Court reasoned that a

defendant’s status as the CEO of a healthcare company was sufficient for the



                                         43
USCA11 Case: 22-14219       Document: 45     Date Filed: 05/05/2023   Page: 58 of 77


jury to infer that he was familiar with the AKS and therefore knew it was illegal

to pay commissions to independent contractors. 723 F.3d at 1267.

      Starks and Vernon confirm that the AKS’s prohibitions are not ambiguous

and that a defendant’s knowledge that payments were made to induce patient

referrals goes far in proving willfulness. But, here, the district court effectively

set this category of evidence aside based on its mistaken belief about the

unsettled nature of the law.

      Even worse, the court refused to find willfulness “[i]n the absence of

evidence that the terms of the contracts were not executed faithfully, that Clinica

was paid for services that were not rendered, that the payments under the

contract were in excess of fair market value, or that some other nefarious

conduct (other than discussions of volume) occurred.” DE.610:38. The court

repeatedly referenced the purported value of the services it believed Clinica had

provided under the contracts and the Tenet Hospitals’ alleged need for those

services. DE.610:13 n.6, 24, 32-33. In doing so, the court failed to recognize that

the conspirators’ scheme effectively deprived Clinica patients of their choice of

doctor and hospital, or to acknowledge the evidence that Clinica did not, for

example, provide quality translation services under the contracts. E.g., DE.507-

App.A:36.1; DE.507-App.B:22, 117, 219-20.




                                        44
USCA11 Case: 22-14219       Document: 45      Date Filed: 05/05/2023   Page: 59 of 77


      More significantly, none of the factors that the court found missing—

including a lack of need for the services, substandard services, or payments in

excess of fair market value—is necessary to prove an AKS violation. The AKS

may be violated by “reasonable payments for actual work done” if the payments

were knowingly and willfully made to induce referrals. Bay State, 874 F.2d at 31.

HHS-OIG long ago warned that “under the [AKS], neither a legitimate business

purpose for the arrangement, nor a fair market value payment, will legitimize a

payment if there is also an illegal purpose (i.e., inducing Federal health care

program business).” OIG Supplemental Compliance Program Guidance for

Hospitals, 70 Fed. Reg. 4858, 4864 (Jan. 31, 2005). And the AKS does not

require proving “corrupt intent,” or a bad purpose beyond knowledge that the

conduct is illegal. Pfizer, 42 F.4th at 74-77.

      The district court emphasized that “a hospital may need a service, and in

picking an entity to provide that service, the hospital is not prohibited from

choosing to enter into a contract with an entity that also has the capacity to refer

patients over one that does not.” DE.610:34 (quotation omitted). Fair enough.

But if hospital executives knowingly and willfully pay that entity for the purpose

of inducing patient referrals, the AKS is violated. Indeed, that is why safe-harbor

protection is unavailable where compensation under the contract takes into

account the volume or value of referrals. 42 C.F.R. § 1001.952(d)(5); see, e.g.,



                                         45
USCA11 Case: 22-14219      Document: 45      Date Filed: 05/05/2023   Page: 60 of 77


United States v. Hagen, _ F.4th _, No. 21-11273, 2023 WL 2182258, *11 (5th Cir.

Feb. 21, 2023) (district court properly denied defense request for jury instruction

on safe harbor where compensation took into account volume of referrals).

      By requiring “nefarious conduct (other than discussions of volume),”

DE.610:38, the court marginalized the value of probative, patient-referral

evidence and elevated the bar for proving willfulness.

      B.    The District Court’s Ruling Was Based on Clearly Erroneous
            Factual Findings.

      The government presented specific and reliable evidence of a conspiracy

to pay kickbacks for patient referrals, including evidence of willfulness. The

district court’s contrary findings were clearly erroneous. These errors warrant

reversal, standing alone or in combination with the court’s legal errors.

            1. The court clearly erred in finding that Tenet’s payments to
               Clinica were not conditioned on patient referrals.

      The court’s finding that the evidence showed only that defendants

“create[d] an attractive arrangement” for Clinica to refer patients to Tenet

Hospitals, DE.610:35, is contradicted by the overwhelming evidence that

Tenet’s payments to Clinica were conditioned on patient referrals.

      First, Tracey provided direct evidence of the unlawful scheme when she

pleaded guilty. Tracey affirmed under oath that she and her co-conspirators had

“agreed” that Clinica would be compensated for “referring” Clinica patients to



                                        46
USCA11 Case: 22-14219      Document: 45     Date Filed: 05/05/2023   Page: 61 of 77


Tenet Hospitals, that the contracts and payments “were conditioned on and in

exchange for Clinica referring its patients to the hospitals,” and that the Tenet

Hospitals would not have contracted with and paid Clinica for services unless

Clinica referred patients to them. DE.507-App.B:204, 216-18, 223. Nowhere did

the district court reconcile its decision with these sworn admissions, even though

the court accepted them as the basis for Tracey’s guilty plea. DE.507-App.B:236.

      The court dismissed Tracey’s admissions because she did not state “that

Clinica was paid for services that were not provided, that the payments were

above market rates, or that the individuals performing those services were

woefully unqualified.” DE.610:24. But again, this evidence is not necessary to

prove an AKS violation. The absence of such an admission did not nullify

Tracey’s sworn affirmation of the conspirators’ quid pro quo arrangement:

payments for patient referrals.

      Second, in law-enforcement interviews, Tracey provided detailed

information about the conspiracy, including specific meetings and conversations

she had with co-conspirators. See pp.13-17, supra. As Clinica’s former COO and

a cooperating co-conspirator, Tracey was well positioned to provide this

information. See United States v. Beale, 921 F.2d 1412, 1422-23 (11th Cir. 1991).

For example, Tracey described:




                                       47
USCA11 Case: 22-14219     Document: 45     Date Filed: 05/05/2023   Page: 62 of 77



   x A meeting with Holland in which Cota described Clinica’s ability to refer
     50 patients per month to North Fulton, Holland’s later demand for
     assurances of patient referrals, and Cota’s refusal to begin referring
     patients to North Fulton until it signed the contract with Clinica. DE.507-
     App.B:18, 21-22, 971-72.

   x                          statement that North Fulton wanted at least 35
       deliveries per month by Clinica patients. DE.507-App.B:30-31.

   x Moore’s repeated inquiries about Clinica patient referrals and lack of
     inquiry into the contractual services Clinica was providing AMC. DE.507-
     App.B:17, 61, 136, 139, 176.

   x A meeting with                            in which Cota said that Clinica
     could refer 30-40 patients per month to Spalding, and                 later
     cancellation of the Clinica-Spalding contract after only four months based
     on insufficient Clinica referrals. DE.507-App.B:29-30.

   x                         outreach about a clinic for Hilton Head and
       statements to Tracey and Cota that     wanted 30 deliveries per month
       from Clinica. DE.507-App.B:31, 62-63, 160.

These conversations and meetings, and others described by Tracey, bear directly

on the conspirators’ motivation for remunerating Clinica. North Fulton would

not have assigned Clinica a patient quota if their relationship simply provided

an “attractive arrangement” for referrals. DE.610:35.

       If Tracey’s statements alone were not enough, they were corroborated by

documentary evidence. For example, the Proforma states that “Clinica De La

Mama will begin directing admissions to [North Fulton] upon completion of the

contract,” DE.507-App.B:280, corroborating Tracey’s statement that Cota

purposefully withheld referrals until the Clinica-North Fulton contract was


                                      48
USCA11 Case: 22-14219      Document: 45      Date Filed: 05/05/2023   Page: 63 of 77


signed. Email correspondence indicated that the parties manipulated

compensation amounts under the Clinica contracts, see pp. 25-26, supra,

corroborating Tracey’s statements that Clinica was paid for patient referrals.

And an internal document emailed                 corroborated Tracey’s account of

why      canceled the Clinica-Spalding contract: it reported that the Clinica

“initiative” was “discontinued … due [in part] to inability of partner to establish

clinic volume ….” DE.507-App.A:18.1-2. The district court made no credibility

finding against Tracey. It failed to give her statements meaningful consideration.

      Third, internal Tenet documents confirm that Tenet Hospitals paid

Clinica to induce patient referrals. See generally pp. 21-26, supra. The Proforma

projected revenue from the Clinica “initiative” in terms of Medicaid and

Medicare payments for the delivery services that resulted from referrals.

DE.507-App.B:277, 280.11 One year into the North Fulton-Clinica contract,

Moore emailed Holland, “How is [ ] Clinica working out for you? Do you know

how many deliveries they’re averaging?” DE.507-App.B:290. Moore’s litmus

test was patient volumes, not the services Clinica was providing under contract.



11
  Defendants challenged the Proforma based on its unknown authorship. But
this Court has upheld the admission of an anonymous phone call under Rule
801(d)(2)(E). See United States v. Dynaelectric Co., 859 F.2d 1559, 1582 (11th Cir.
1988). And nothing precludes considering the Proforma as to the preliminary
question of whether a conspiracy existed. See Fed. R. Evid. 104(a).


                                        49
USCA11 Case: 22-14219       Document: 45      Date Filed: 05/05/2023   Page: 64 of 77


His email confirms what is clear from the Proforma: Tenet Hospitals were

valuing and paying Clinica based on patient referrals. See also DE.507-

App.B:302 (August 2006 email from Moore to                                     about

“set[ting] up a meeting with the Clinica folks to discuss expansion sites to possibly

feed         ”; “[t]heir business fuels a lot of our NICU volume”) (emphasis

added).

         The September 2008 email chain involving then-SVP Holland, Moore,

              further evidences a quid pro quo arrangement. When Holland asked

for Clinica patient numbers, Moore reported a “marked decrease” at AMC and

believed there would be “a problem” if the decrease was not offset by Clinica

patients at North Fulton;           reported only “flat volume” at North Fulton,

speculated that Clinica could be “diverting to another program,” and pledged to

raise the issue with Cota and Tracey during contract-renewal talks. DE.507-

App.A:41.1. Holland then complained to Cota and Tracey that “either volume

is going out of the system or Clinica’s overall volume of patients has slowed

considerably.” DE.507-App.B:318. On their face, these communications speak

to the        conspirators’ agreement to pay Clinica to induce patient referrals—

and concern that Clinica was not living up to its end of the bargain.

                                were equally candid about the purpose of paying

Clinica. See pp. 23-25, supra. Among other emails, a message from



                                         50
USCA11 Case: 22-14219      Document: 45      Date Filed: 05/05/2023   Page: 65 of 77


                                     , responding to            inquiry about using

a different translation provider, linked Clinica payments to patient referrals: “If

we think we can get Clinica to send us the business and we can get the translation

services elsewhere, I’m all for it. I agree with your assessment of the way they

hold us hostage and don’t like it.” DE.507-App.A:29.1 (emphasis added).

was plainly communicating that North Fulton had been paying Clinica to

induce patient referrals. See also, e.g., DE.507-App.A:21.1-2 (

                      “[I] want to take a hard look at the clinica benefit as

compared to cost …. We are paying more than 240K at Hilton Head for 400

deliveries. These costs wipe out our OB margins[.]”).12

      Moore’s email to                        in May 2011, after Cota and Tracey

divorced, captured the kickback scheme in two sentences: “See significant

number of babies coming from Ed Cota’s clinic (d la Mama). We need to move

on that agreement or risk him pressuring the doctor to deliver at another


12




                                        51
USCA11 Case: 22-14219      Document: 45      Date Filed: 05/05/2023   Page: 66 of 77


hospital.” DE.507-App.B:333; see DE.507-App.A:28.3 (volume report

           : “Clinica volume continues to decline due to immigration law

enforcement. To mitigate loss within OB, a contract with clinica de la mama is

in process, already have a contract with clinica de la bebe.”).

      The district court did not address these communications. It dismissed

patient-volume discussions out of hand because it believed that “a hospital

administrator would want to know how many patients are likely to show up at

a hospital on a given day (or over a given period) for numerous reasons that have

nothing to do with violating the AKS,” such as needing to know “how many

Spanish-speaking women delivered at a hospital so that they could verify that

the payments made to Clinica for translation services were accurate and not

above fair market value.” DE.610:30; accord id. at 35. But that is not a reasonable

reading of what the Tenet-based conspirators said.

      Contrary to the court’s characterization, the internal documents and

emails show that the alleged conspirators repeatedly identified patient referrals

as the purpose of doing business with Clinica, e.g., DE.507-App.A:18.1-2, 23.2,

28.3, 41.1; described the relationship with Clinica in quid pro quo terms, i.e.,

payments or contracts for patient referrals, e.g., DE.507-App.A:29.1; DE.507-

App.B:280, 333; and measured the cost of what a hospital paid Clinica against

the Medicaid revenues the hospital projected to generate from the delivery



                                        52
USCA11 Case: 22-14219          Document: 45    Date Filed: 05/05/2023   Page: 67 of 77


services Clinica referred to it, e.g., DE.507-App.A:21.1-2, 37.1; DE.507-

App.B:277. This evidence shows that the Tenet Hospitals paid Clinica to induce

patient referrals—referrals were more than a “collateral hope or expectation.”

McClatchey, 217 F.3d at 834 & n.7; see United States v. Sanjar, 876 F.3d 725, 733-

34, 747 (5th Cir. 2017) (kickback evidence included that clinic owners and

administrator “meticulously monitored patient referrals”). The conspirators’

discussion of patient volume concerned revenue generation, not the fair market

value of Clinica’s services.

      Further, because Clinica’s compensation took into account patient-

referral volumes, and because the contracts did not set forth the parties’

agreement concerning patient referrals, the arrangements were not protected by

the personal-services safe harbor. 42 C.F.R. § 1001.952(d)(2), (d)(5); see United

States v. Clough, 978 F.3d 810, 822 (1st Cir. 2020) (evidence showed that

defendant and drug company had “an unwritten, ‘mutual understanding’ of a

kickback scheme”; “[n]o matter the written terms” of their agreement, the

arrangement fell outside the safe harbor by taking into account defendant’s

prescription volumes); United States v. Nagelvoort, 856 F.3d 1117, 1120-21, 1126

(7th Cir. 2017) (discussions about doctor’s “declining referral numbers,” and

hospital owner’s desire to make the doctor happy because “we need his patients

over here,” was evidence agreements took into account referrals); see also Hagen,



                                          53
USCA11 Case: 22-14219       Document: 45      Date Filed: 05/05/2023   Page: 68 of 77


2023 WL 2182258, *11 (defendants’ own testimony that total monthly

remittances derived from a “target” number of raw leads defendants hoped to

procure “put[] the contract outside the protection of the safe harbor”).

      The district court clearly erred in finding that the evidence showed only

that defendants “create[d] an attractive arrangement for referrals.” DE.610:35.

             2. The court clearly erred in finding “scant” evidence of willfulness.

      Apart from the evidence of payments made for patient referrals, the

government presented evidence of willfulness in two additional forms: (1) AKS-

related training taken                                 ; and (2) contract provisions

prohibiting patient referrals and requiring AKS compliance. Although the

government’s filings repeatedly discussed this evidence, e.g., DE.507:25, 33, 35,

39-40, 52-54, 63; DE.529:16-17, the district court rejected the training evidence

for faulty reasons and failed to address the contract evidence. The court’s finding

of “scant” willfulness evidence, DE.610:28, was clearly erroneous.

      First, that Holland, Moore,                              took annual training

on the AKS beginning in 2006, see pp. 26-27, supra, is evidence they knew their

conduct was illegal. See United States v. Mak, 683 F.3d 1126, 1139 (9th Cir. 2012)

(citing “export compliance training” as evidence “that [defendant] knew his

actions were illegal”); United States v. St. Junius, 739 F.3d 193, 211 (5th Cir. 2013)

(by signing employment documents explaining that receiving commission



                                         54
USCA11 Case: 22-14219        Document: 45     Date Filed: 05/05/2023   Page: 69 of 77


payments was illegal, defendant affirmed she understood conduct violated the

law).

        The Corporate Integrity Agreement required Tenet’s senior leaders, and

those involved in negotiating, preparing, reviewing, or approving arrangements

with potential referral sources, to receive training on topics that included the

AKS. DE.507-App.B:753-55, 788. A training slide titled “Anti-Kickback Basics”

shows that                        were informed of the “One purpose rule” in

connection with the AKS’s “Knowing and willful” elements; other slides

explained that an arrangement with a referral source must “not take into account

volume or value of referrals or other business” and cautioned that an

arrangement “must meet all criteria” to satisfy a safe harbor. DE.507-

App.B:881, 887-88.

        The district court found that the training slides “provide only a vague idea

of the content of the training” and that because “the one-purpose rule is not

clear,” the person who “led the training could have in good faith” said “that the

one-purpose rule did not apply if a transaction fit within a safe harbor.”

DE.610:29-30. But again, the one-purpose rule is not ambiguous or at odds with

the AKS safe harbors. The slides (e.g., DE.507-App.B:879-94) and Agreement

implementation report (DE.507-App.B:753-64) provided detailed evidence

about the purpose and content of the training—exactly the type of evidence that



                                         55
USCA11 Case: 22-14219       Document: 45      Date Filed: 05/05/2023   Page: 70 of 77


the Fifth Circuit found lacking in a case holding that a defendant’s training on

compliance and Medicare was insufficient to establish willfulness under the

AKS. See United States v. Nora, 988 F.3d 823, 830-31 (5th Cir. 2021).

      The court overlooked that Tenet was under a Corporate Integrity

Agreement. That the purpose of the training was to comply with the Agreement

makes it even less plausible that trainees would have been instructed on anything

other than the consensus view of the one-purpose rule.




                                                          The court clearly erred by

setting aside this evidence of willfulness.

      Second, the district court did not address the provisions of the post-

Agreement contracts in which Clinica and the Tenet Hospitals certified that they

would not violate the AKS and agreed to comply with Tenet’s AKS policies. See

p. 19, supra. Holland approved all of those contracts, and Moore signed all of

the AMC-Clinica contracts (and all but the original contract). See id. Nor did the

court address the provisions in the original contracts with AMC and Hilton

Head, which disavowed any requirement that Clinica make patient referrals, or

address Holland’s similar disavowal when seeking corporate approval of the

original Clinica-North Fulton contract. See id. This was evidence that defendants



                                        56
USCA11 Case: 22-14219        Document: 45      Date Filed: 05/05/2023   Page: 71 of 77


and their co-conspirators knew patient referrals were illegal. See Hill, 745 F.

App’x at 815; United States v. Moshiri, 858 F.3d 1077, 1082-83 (7th Cir. 2017).

The court should have considered it.

             3. The court clearly erred in finding that defendants relied in good
                faith on the advice of counsel.

      The district court clearly erred in finding that “when the contracts were

executed, Defendants had a reasonable basis to believe that the contractual

arrangements under the terms of the contract were legal,” because “attorneys for

both Tenet and Clinica vetted the contracts to ensure that they would not violate

the law.” DE.610:37-38.

      Although good-faith reliance on counsel’s advice can negate willfulness,

it is an affirmative defense on which defendants bear the burden of proof. Vernon,

723 F.3d at 1269. The fact-bound elements of this defense are that the defendant

(1) “fully disclosed to his attorney all material facts that are relevant to the advice

for which he consulted the attorney,” and (2) “thereafter … relied in good faith

on the advice given by his attorney.” Id. (quotation omitted). Failure to present

evidence on each element is fatal to the defense. See United States v. Hill, 643 F.3d

807, 851 (11th Cir. 2011).

      The district court did not make any finding that defendants and their co-

conspirators “fully disclosed” all material facts related to the contracts to




                                          57
USCA11 Case: 22-14219     Document: 45     Date Filed: 05/05/2023   Page: 72 of 77


attorneys for Clinica or Tenet. The court skipped this step, even though it was

defendants’ threshold burden to present evidence of disclosure to counsel.

      Further, the court misapprehended the scope and facts of the charged

conspiracy in evaluating the lack-of-disclosure evidence submitted by the

government.




                                      58
USCA11 Case: 22-14219      Document: 45      Date Filed: 05/05/2023   Page: 73 of 77


       Similarly, the law-enforcement interview



                       , reveals that     did not know that referrals were the

purpose of the Clinica contracts. DE.529-App.B:1017, 1022-26. When shown

the Proforma,           stated that it was suggestive of a quid pro quo and would

have                                                . DE.529-App.B:1022-23.

       The district court did not address               statements. And the court

dismissed                       on the ground that it concerned “documents and

communications” that, the court believed, occurred “after the contracts had been

approved by counsel and executed.” DE.610:37-38 & n.17. The court was

wrong. Not only did the Proforma predate the original North Fulton-Clinica

contract, but defendants and their co-conspirators continually renewed, or

executed new, contracts between Clinica and the Tenet Hospitals throughout

the conspiracy.                                    alone predated North Fulton’s

December 2009 contract with Clinica (DE.507-App.B:564-70) and March 2011

contract with Clinica de la Mama (DE.507-App.B:574-81), and AMC’s May

2011 contract with Clinica del Bebe (DE.507-App.B:505-11).

       Even if the communications post-dated the execution of all contracts, they

evidence the conspirators’ understanding about a purpose (if not the purpose) of

the arrangements. This was an ongoing conspiracy to pay Clinica for patient



                                        59
 USCA11 Case: 22-14219     Document: 45      Date Filed: 05/05/2023   Page: 74 of 77


referrals pursuant to an unwritten, but necessary, condition of its contractual

arrangements with Tenet Hospitals.

statements reveal that the conspirators did not disclose this purpose to

counsel.

      Elsewhere, the court referenced communications between Tracey and

           attorney purportedly “show[ing] that the two worked closely and

extensively together in vetting the contracts, and [Tracey] sought to avoid

violating the AKS.” DE.610:28. But Tracey pleaded guilty, admitting that she

willfully joined an unlawful plan that was not disclosed in the Clinica-Tenet

Hospital contracts. DE.507-App.B:211, 216-18; see also id. at 133 (law-

enforcement report documenting Tracey’s admission that, although she believed

the contracts were legal as to the services Clinica provided, “it was not the whole

picture”). Tracey could not, and ultimately did not, assert good-faith reliance on

advice of counsel.

      The legal review of contracts did not negate willfulness. The court’s error

here compounded its previous ones.

II.   REVERSAL IS WARRANTED.

      Because the government proved a conspiracy by a preponderance of the

evidence, the Court should reverse and remand for the district court to

determine, as to each statement offered under Rule 801(d)(2)(E), whether the



                                        60
USCA11 Case: 22-14219    Document: 45     Date Filed: 05/05/2023   Page: 75 of 77


declarant was a member of the conspiracy with defendants and whether the

statement was made in furtherance of the conspiracy.

                              CONCLUSION

     For the foregoing reasons, the decision below should be reversed.

                                      Respectfully submitted,

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                                     61
USCA11 Case: 22-14219      Document: 45         Date Filed: 05/05/2023   Page: 76 of 77



                     CERTIFICATE OF COMPLIANCE

      1.    This brief complies with the type-volume limitations of Fed. R.

App. P. 32(a)(7)(B) because it contains 12,950 words, excluding the parts of the

brief exempted by Fed. R. App. P. 32(f).

      2.    This brief complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because

it has been prepared in a proportionally spaced typeface using Microsoft Word

for Office 365 in Calisto 14-point font.



Dated: March 16, 2023

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                                           62
USCA11 Case: 22-14219       Document: 45      Date Filed: 05/05/2023   Page: 77 of 77



                         CERTIFICATE OF SERVICE

      1.     Counsel for each defendant-appellee has consented to service by

electronic mail of the sealed filings in this case. Undersigned counsel of record

certifies that, on this day, an electronic copy of the government’s sealed opening

brief was served on counsel for defendants-appellees by email.

      2.     The government has filed a motion to extend the deadline for filing

the electronic version of its redacted (public) opening brief until the Court rules

on a separately filed motion. Electronic service of the redacted version of the

government’s opening brief will be effectuated when the brief is electronically

filed using the Court’s CM/ECF system, which will send notice of the filing to

all participants in this case who are registered users of the Court’s electronic case

filing system.


DATED:       MARCH 16, 2023

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                                         63
